                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                             NO. 5:17-CR-312-1D


UNITED STATES OF AMERICA                  )
                                          )      NOTICE OF INTENT TO REQUEST
           v.                             )      JUDICIAL REMOVAL
                                          )
HOUCINE BECHIR GHOUL                      )



     The United States hereby provides this notice to HOUCINE

BECHIR    GHOUL    ("defendant")    and       to   his   attorney     of   record,

Christopher      Locascio,    confirming         that,   consistent    with    his

agreement with the United States, upon conviction of the defendant

for violation of 18 U.S.C. § 1425(a) and 26 U.S.C. § 7206(1), the

United States shall request that the Court issue a judicial order

of removal against the defendant pursuant to 8 U.S.C. § 1228(c)

(section 238(c) of the Immigration and Nationality Act of 1952,

as amended).

     Respectfully submitted, this 4th day of January 2018.

                                     ROBERT J. HIGDON, JR.
                                     United States Attorney

                                     /s/ Jason M. Kellhofer
                                     JASON M. KELLHOFER
                                     Assistant United States Attorney
                                     United States Attorney’s Office
                                     310 New Bern Ave., Suite 800
                                     Raleigh, NC 27601
                                     Telephone (919) 856-4874
                                     Fax (919) 856-4487
                                     Jason.Kellhofer@usdoj.gov
                                     OH Bar No. 0074736

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                              CERTIFICATE OF SERVICE

     I certify that I have on this 4th day of January 2018, served
a copy of the foregoing upon the Defendant either to counsel
electronically, or by mail addressed as follows:


Chris Locascio
150 Fayetteville Street, Suite 450
Raleigh, North Carolina 27602
Email: chris_locascio@fd.org



                                       /s/ Jason M. Kellhofer
                                       JASON M. KELLHOFER
                                       Assistant United States Attorney
                                       United States Attorney’s Office
                                       310 New Bern Ave., Suite 800
                                       Raleigh, NC 27601
                                       Telephone (919) 856-4874
                                       Fax (919) 856-4487
                                       Jason.Kellhofer@usdoj.gov
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